AO 91 (Rev. 08/09) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the

Southern District of Texas

 

United States of America )
V. )
Ramon TORRES-Zurita ) Case No. M-19- 20\8-M
YOB: 1982 )
POB: MEXICO )
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of August 24,2019 in the county of Starr, in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
Title 21 USC 841 Conspire, Posses with the intent to distribute, and attempted to import a
Title 21 USC 846 . controlled substance, 24 concealed packages containing approximately 42

kilograms of crystal. methamphetamine, a Schedule II Controlled Substance,

This criminal complaint is based on these facts:

See Attachment "A"

Mf Continued on the attached sheet.

S/Antonio Marin

 

Complainant's signature

Antonio Marin, ICE HSI Special Agent _
Sworn to and executed by reliable Printed name and title
electronic means, per FRCrP 4.1, &

probable cause found on:

Date: 08/25/2019 -—J/s:o30.h.

 

a Judge's signature

City and state: McAllen, Texas - Juan F. Alanis, U.S. Magistrate
Printed name and title
Attachment “A”

Before the United States Magistrate Judge, Southern District of Texas, I, Antonio Marin, Special
Agent (SA) of the United States Immigration and Customs Enforcement (ICE), Homeland
Security Investigations (HSI), being duly sworn, depose and say the following:

On August 24, 2019, Ramon TORRES-Zurita presented himself for admission into the United
States from Mexico via the Rio Grande City, Texas, International Port of Entry driving his
personally owned white GMC Terrain sport utility vehicle (SUV). During the inspection process
at the primary booth, TORRES was recognized by a Customs and Border Protection Officer
(CBPO) as having been involved in a failed smuggling attempt of a multi-kilogram load of
crystal methamphetamine where one of TORRES’ associates was arrested, charged, and
convicted for attempting to smuggle the load via the Rio Grande City, Texas Port of Entry.
TORRES also had CBP data-base look outs as a suspected narcotics trafficker.

TORRES was referred into the secondary inspection area for a further inspection of his vehicle
based the CBPO’s personal knowledge of his suspected involvement, and nervous reaction to the
CBPO’s questions. TORRES vehicle was X-rayed, and anomalies were discovered in the tires.
A K-9 inspection resulted in positive alert and CBPO’s proceeded to further check the tires of
TORRES’s vehicle. A further inspection of the four tires revealed a total of 42 packages of
crystal methamphetamine with a total weight of approximately 42.08 kilograms. All 42 packages
field tested positive for methamphetamine. TORRES was detained and HSI SAs were notified
and responded to investigate. .

HSI SAs read TORRES’s Miranda Rights and TORRES acknowledged he understood them and
agreed to provide a statement regarding his arrest and knowledge of the narcotics discovered in
his vehicle without the presence of an attorney.

TORRES admitted to agents that he was hired to transport what he believed was “drugs” in the
four tires of his personally owned vehicle to Houston, Texas, for a fee. TORRES stated he
agreed with an individual from Mexico to smuggle the load of drugs into the United States and
has previously successfully smuggled several other loads.

The case was presented before the United States Attorney’s Office and was accepted for
prosecution.
